This action was commenced in the district court of Oklahoma county, Okla., on the 17th day of October, 1921, by the Western Land Securities Company, a corporation, et al., plaintiffs in error, plaintiffs below, against the Oklahoma Farm Mortgage Company, a corporation, et al., defendants in error, defendants below, to enforce the right to redeem lots 5 and 6, in block 1, in Offield's addition to Oklahoma City, held by defendants in error by virtue of a foreclosure mortgage sale, and for an accounting for the rents and profits from said property while in possession of the defendants in error and for title after redemption.
This cause was submitted in oral argument and briefs by counsel with cause No. 13667, and it was admitted that the issues made up by the pleadings and the decisive facts in this case are the same as in the above numbered case, just decided by this court (111 Okla. 138), except in the names of the defendants in error and the numbers of the lots.
Upon said issues, facts and the legal propositions applicable, the decision in the instant case must follow the decision in the above case, and the opinion in the above case is adopted as the opinion in this case, and the syllabus of that case is also adopted, and the judgment of the lower court is affirmed.
By the Court: It is so ordered.